                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )             No. 3:10-00004
                                                )             JUDGE CAMPBELL
KATHY MEDLOCK                                   )


                                            ORDER

       Pending before the Court is the Defendant’s 2ND Motion For Extension To Self-Report

(Docket No. 387). Through the Motion, the Defendant seeks a two-week extension to self-report

to the Bureau of Prisons to allow her to taper off her current medications. The Government has

filed a Response (Docket No. 388) objecting to the request.

       The Motion is GRANTED. Defendant Kathy Medlock shall surrender for service of

sentence at the institution designated by the Bureau of Prisons before 2:00 p.m. on March 14,

2014. The Bureau of Prisons can adequately address any future medical issues. The Court will

not grant further extensions absent extraordinary circumstances, or for any of the reasons

previously raised.

       It is so ORDERED.



                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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